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Case No. 05-2446 ""“’

ROBERT HALF lNTERNATlONAL iNC.,
P|aintil'"f

V.

Liability Company, VACO MlD-SOUTH, LLC,

a Tennessee Limited Liabitity

Company, VACO RESOURCES, LLC, a

Tennessee Limited Liability Company,

JERRY BOSTELMAN, an lndividual, JAY

HOLLOMON, an lndividual, BRANDON GUY,

an lndividua|, BR{AN WALLER, an

lndividua|, SCOTT GORDON, an lndividual, )

ALEX NADDELL, an lndividual, KlRK )
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VACO, LLC, a Tennessee Limited )

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) Jury Demand
)

JOHNSTON, an |ndividual, and CHERYL
C|TRONE, an lndividua|

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates
are established as the final dates for:
|N|TlAL DlSCLOSURES (RULE 26(a)(1)):
September 22, 2005
JOIN|NG PART|ES:
For Plaintiff: November 8, 2005
For Defendant; December 8, 2005
AMEND|NG PLEAD|NGS:
For P|aintiff: November 8, 2005
For Defendant: December 8, 2005

MOTION TO COMPEL ARB|TRATION:
For Either Party: N|ust be filed by October 7, 2005

Ti' ls document entered on the dock singer in compliance
with Ru!e 58 and/or 79(3) FRCP on _$_L

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COMPLET|NG ALl_ DlSCOVERY: May 8, 2006
(a) REQUESTS FOR PRODUCTION, lNTERROGATORlES and
REQUESTS FOR ADMISS|ONS: l\/lay 8, 2006
(b) EXPERT DlSCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: March 8, 2006
(ii) Defendant’s Experts: Aprii 7, 2006

(iii) Supplementation under Ru|e 26(e): 10 days after
Defendant’s disclosure

(C) DEPOSiTlONS OF EXPERTS: May S, 2006

FlLlNG DISPOSITIVE MOT|ONS: July 7, 2006

FINAL LISTS OF WITNESSES AND EXHlBITS (Ru|e 26(a)(3)):
(a) For Plaintiff: 45 days before trial
(b) For Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to
file objections under Rule 26(3)(3).

The trial of this matter is expected to last 5 days. The presiding judge will set this
matter for JURV TR|AL. ln the event the parties are unable to agree on a joint pretrial
order, the parties must notify the court at least ten days before trial.

OTHER RE_LEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for comptetion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion if the default occurs within 30 days of the discovery deadline1
unless the time for filing of such motion is extended for good cause shown, or any
objection to the defau|t, response, or answer shall be waived.

The parties are reminded that pursuant to Local Ru|e 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. |f a party

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believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required.

The parties may consent to trial before the Nlagistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued

unless a continuance is agreed to by all parties, or an emergency arises which
precludes the matter from proceeding to triai.

The parties are encouraged to engage in court-annexed attorney mediation
or private mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order wit| not be

modified or extended .
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S. THOMAS ANDERSON
UNITEDZXES MAGlSTRATE JUDGE

garza 2005

lT lS SO ORDERED.

Date:

DISTRICT COURT - WESTERN DTISICT F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02446 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Paul E. Prather

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

Memphis7 TN 38125

J ames Craig Oliver

BOULT CUMM[NGS CONNERS & BERRY
1600 Division Street

Ste. 700

Nashville, TN 37203--002

Lisa L. Leach

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER
3725 Champion Hills Dr.

Ste. 3000

Memphis7 TN 38125

HoWard L. Cleveland

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER
3725 Champion Hills Dr.

Ste. 3000

Memphis7 TN 38125

Honorable Samuel Mays
US DISTRICT COURT

